Case:20-16815-JGR Doc#:47 Filed:11/23/20 Entered:11/23/20 11:04:27 Pagei of 9

Fill in this information to identify your case:
Debtor 1 Richard Weingarten
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF COLORADO

Case number 20-16815
(if known) Mi Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/9

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

HM  Manied
[J Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HM No

1 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

‘Debtor 1-Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
: i lived there Q i lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

@ No
0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
\f you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
@ Yes. Fill in the details.

        

 

 

Sources ofincome = § Gross income Sources of income Gross income -
Check all that apply. (before deductions and Check ail that apply. . (before deductions
lee = wiles exclusions) i ; and exclusions)
From January 1 of current year until fl wages commissions $87,963.00 1] Wages, commissions,
the date you filed for bankruptcy: sone tips , bonuses, tips
C1] Operating a business CJ Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor1 Richard Weingarten Case number (if known) 20-16815
Se “Debtor 2
Sources of income Gross income _ Sources of income Gross income .
Check all that apply. (before deductions. and Check ail that apply. (before deductions
. 5 exclusions) ; and exclusions)
@ Wages, commissions, $10,753.86 [1] Wages, commissions,
bonuses, tips bonuses, tips
C1 Operating a business (1 Operating a business
C0 Wages, commissions, $0.00 O Wages, commissions,
bonuses, tips bonuses, tips
CI Operating a business CZ Operating a business
For fast calendar year: Hl Wages. commissions $109,985.00 [1 Wages, commissions,
(January 1 to December 31,2019) bonuses, tos bonuses, tips
Ol Operating a business Oo Operating a business
i Wages, commissions, $11,769.24 [© Wages, commissions,
bonuses, tips bonuses, tips
C1 Operating a business C Operating a business
For the calendar year before that: Hl Wages. commissions $12,000.00 [1] Wages, commissions,
(January 1 to December 31, 2018 ) bonuses, tips ‘ bonuses, tips
0 Operating a business C Operating a business
Wl Wages, commissions, $111,739.57 [) Wages, commissions,

bonuses, tips

C1 Operating a business

bonuses, tips

C0 Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

O No
@ Yes. Fill in the details.

 

 

  

  

    

 

 

 

 

Sources of income ©... Gross income from Sources of income Gross income o
Describe below. ©. =~ each source. °°. Describe below. (before deductions.
a ae er (before deductions and ee ee and exclusioris)
ee exclusions) °° 572 a ;
From January 1 of current year until Pension $16,752.70
the date you filed for bankruptcy:
ROTH IRA - non $14,000.00
taxable withdraw
IRA withdraw - $35,000.00
taxable
For last calendar year: Pension $20,103.24

(January 1 to December 31, 2019 )

 

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Debtor1 Richard Weingarten Case number (itknown) 20-16815
Sources of income Gross income from Sources of income Gross income
Describe below. , eachsource Deseribe below. (before deductions
(before deductions and- ; and exclusions)
exclusions)
Federal Tax Return $28,496.00
ROTH IRA - non $47,000.00
taxable
IRA withdraw taxable $85,000.00
For the calendar yoar before that: Pension $20,103.24
(January 1 to December 31, 2018 )
Federal Tax Return $23,901.00
IRA withdraw - $50,000.00
taxable conversion to
ROTH IRA

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Ara oither Debtor 1’s or Debtor 2’s debts primarily consumer debts?
M No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
0 No. Go to line 7.

Yes List below each credifor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

O No. Goto line 7.

0 Yes _List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Narne and Address: *. Dates of payment Total amount Amount you Was this payment for...
a * ee ida Can aR paid still owe ore

Quicken Loans 8/2/2020,9/1/2020, $9,211.98 $281,251.71 I Mortgage

P.O. Box 442359 10/1/2020 Cl Car

Detroit, MI 48244-2359 CO credit Card

C1 Loan Repayment
O Suppliers or vendors

 

O Other __
US Bank 7/16/2020,8/14/202 $1,405.14 $7,337.00 [1 Mortgage
PO BOX 790179 0,9/16/2020 Wi car
St Louis, MO 63179 C1 credit Card

OC Loan Repayment
C Suppliers or vendors
0 Other__

 

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Debtor1 Richard Weingarten Case number (if known) + 20-16815
Creditor's Name and Address Dates of payment Total:-amount Amount you Was this payment for ...
P= paid still owe fe
American Express 9/1/2020,8/13/2020 $11,169.00 $15,687.92 [© Mortgage
P.O. Box 650448 ’ O Car
Dallas, TX 75265-0448 credit Card

C Loan Repayment
01 Suppliers or vendors
OOther__

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.
M@ No
O Yes. List all payments to an insider.
Insider's Name and Address®. - ‘Dates of payment Totalamount .Amountyou. Reason forthis payment’
Ie gL a Naa Ac a ; paid still owe .aailte is '
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.
M@ No
D Yes. List all payments to an insider
Insider's Name and Address . Dates’ of payment. Total amount Amountyou Reason for this payment.
ae ; i ; ee aime ss paid ““stilfowe Include creditor's name ~~

GEGZEEE identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, patemity actions, support or custody
modifications, and contract disputes.

Ol No
@ Yes. Fill in the details.

Case title.) oe... Nature of the case Court or agency Status of the case.”
Casenumber : Poet UL | My kaa ; mes : EE Tae
Great Western Bank v. Fong Collection case Larimer County H Pending
Weingarten, Gunsmoke LLC et al. with 201 La Porte Ave CO On appeal
2020 CV 30488 counterclaims/off Ft Collins, CO 80521 CO Concluded

set

Great Western suing for
default on the loan and
personal guarantee

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
[] Yes. Fill in the information below.

Creditor Name and Address. Describe the Property Date. Value of the
Exptain what happened
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Debtor1 Richard Weingarten Case number (i known) 20-16815

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
M No
O Yes. Fill in the details.
Creditor Name-and Address Describe the action the creditor took rae action was Amount
5 : ; taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

HB No
O Yes

GEGaaw List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

M@ No

01 Yes. Fill in the details for each gift.

Gifts with‘a total value of more than $600 Describe the gifts Dates you gave Value
per person 7 a’ the gifts 20. °*

Person to Whom You Gave the Gift fand
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
H No

C1 Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total | '  Deseribe what you contributed Dates you Value
more-than $600... z eat al re an contributed. -,
Charity's Name ; nat gl Sos er

Address. (Number, Street, City, State and Zp code} *

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

M@ No
1 Yes. Fill in the details.

Describe the property you: lost and Describe any insurance coverage for the loss Date of your Value of property
how fe fogs o¢curred 3). “"" —‘tnélude the amount that insurance has paid. List pending ree eo ' oo lost

insurance claims on line 33 of Schedule A/B: Property.
List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No

@ Yes. Fill in the details.

Person Who Was Paid Description and value of: any property Date payment © Amount of
Address oo." A Benerened os or transfer was ‘payment
Email or website address ro ne : - made oo ‘a
Person Who Made the Payment; if Not You oe bee” : Mae i aed .
Buechler Law Office, L.L.C. Retainer for Subchapter V filing October 12, $31,000.00
999 18th Street, SUite 1230 2020

Denver, CO 80202

 

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Debtor1 Richard Weingarten Case number (known) 20-16815
Person Who Was Paid Description and value of any property. Date payment Amount of
Address -2 0°) 2: ; transferred - : or transfer was ' payment
Email or website address ; made
Person Who Made the Payment, if Not You _
Jorgensen Brownell & Pepin Reatainer paid and then returned by September $50,000.00
900 S. Main Street, Suite 100 firm in Ocotber 2020 2020
Longmont, CO 80501

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

0 sYes. Fill in the details.

Person Who Was Paid © Description. and value of any property Date payment ~ Amount of

Address 2 ry transferred = | ees or transfer was ‘|. payment
ia eB eget made 22 : :

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M@ No

C1 Yes. Fill in the details.

Person Who Received Transfer - Description and.value of | Describe any property or | —- Date transfer was
Address. property transferred : payments received or debts. made >.»
Person's relationship to you ae: . ead =

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset_protection devices.)

@ No
O Yes. Fill in the details.
Name of trust Description and value of the property transferred |, Date Transfer was

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M@ No

0 Yes. Fill in the details.

Name of Financial Institution and ...- ss Last 4-digits of .. Type of account or Date account was <» Last balance

Address (Number, Streat, City, State and ZIP ~~ account number instrument: closed, sold, ~’ before closing:or

Code} Goucher a Oa pe ee : i EE G8 moved;or =~ copes") transfer
: transferred ~ ga

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

@ No
O Yes. Fill in the details.
Namo of Financial Institution =; Who else had access to it? Describe the contents Do you still:
Address (Number, Street, City, State and ZIP: Code) Address (Number, Street, City; : have it?
: : State and ZIP Cede) a)
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Debtor1 Richard Weingarten

Case number (if known)

20-16815

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

HM No
O Yes. Fill in the details.
Name of Storage Facility Who else has or had access
Address (Number, Street, City; State and ZIP Code) tot? ~
Address (Number, Streat, City,
State'and- ZIP Code):

identify Property You Hold or Control for Someone Else

Describe the contents

Do you still
have it?

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

HM No
(J Yes. Fill in the details.

Owner's Name

; Where is the property?
Address (Number, Street, City, State and ZIP Code)

{Number, Street, City, State and ZIP

Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Describe the property

Value

@ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or

regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used

to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,

hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

@ No
O1 Yes. Fill in the details.

Governmental unit .
Address (Number, Street, City, State and
ZIP Code)

Name of site Le
Address (Number, Street, Clty, State : ain ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

@ No
O Yes. Fill in the details.

Name of site

“I Governmental unit
Address (Number, Street, City, State and zip Code}

Address (Number, Street, City, State and
ZIP Code} :

Environmental law, if you Date of notice
know it

Environmental law, if you Date of notice
know it i ae

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M@ No
O Yes. Fill in the details.
Case Title - Court or agency :
Case Number Name re, ;
Address (Number, Street, City,
State and ZIP Code}

Give Details About Your Business or Connections to Any Business

Nature of the case

Status of the
case.

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

O A member of a limited liability company (LLC) or limited tiabllity partnership (LLP)

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Debtor? Richard Weingarten Case number (ftmovn) 20-16815

OA partner tn a partnership

C1 An officer, director, or managing executive of a corporation

EJ An owner of at least 5% of the voting or equity securities of a corporation
O) No. None of the above applies. Go to Part 12.
@ Yes. Check all that apply above and fill in the detalts below for each business.

Business Name Describe the nature of the business Employer identification number
Address Do not include Soclal Security number or ITIN.
(Number, Streot, City, State and Zif Code) Name of accountant or bockkeeper
Dates business existed
Gunsmoke LLC Gun range and firearm FFL EIN: 27-024-7683
697 N Denver Ave owned by Armed Beavers LLC
Loveland, CO 80537 From-To 94/26/2017
Nichole Stobbe
Happy Beavers LLC Real Estate - Ownes poprty at 697 EIN: XX-XXXXXXX
697 N Denver Ave Denver ave, Loveland,CO, 50%
Loveland, CO 80537 owned by Debtor From-Te 4/26/2017
Nichole Stobbe
Armed Beavers LLC Holding Company - Gunsmoke EIN: $1-4763324
697 N Denver Ave LLC,
Loveland, CO 80537 50% owned y Debtor From-To 04/26/2017
Nichole Stobbe

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

O No
@ Yes. Fill in the detalls below.

Name Date Issued
Address

(Number, Street, City, State and ZIP Code}

Great Western Bank 01/2/2020
3800 E 15th St

Loveland, CO 80538

Todd Buchholtz 11/1/2019
4417 Prairie Ct
Windsor, CO 60550

Edward Klien 04/1/2019
6809 Shannon Ct
Loveland, CO 80538

EEREER Sign Below

i have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. Iu tand that making a false statement, concealing property, or obtaining money or property by fraud In connection

with a bankruptcy in result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 th J 4
Richard Weingarte:

1519, 3571.
Signature of Debtor 1

Date ({ “10 -20ZE) Date

Did you attach additional pages to Your Statement of Financial Affairs for individuais Filing for Bankruptcy (Officiat Form 107)?

   
  
 

Signature of Debtor 2

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Debtor? Richard Weingarten Case number (known) 20-16815
BNo
O Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Bno
DO Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
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